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                       PLAINTIFFS’ EXHIBIT V

                  OPPOSITION TO MOTION TO DISMISS

                        CIV. NO. 17-00540 (KBJ)
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


CONSUMERS FOR AUTO RELIABILITY                        )
AND SAFETY, et al.,                                   )
                                                      )
                                                      )
                                       Plaintiffs     )
                                                      )       No. 17-00540 (KBJ)
v.                                                    )
                                                      )
FEDERAL TRADE COMMISSION,                             )
                                                      )
                                                      )
                                       Defendant.     )



                          DECLARATION OF MICHAEL BROOKS

       1.      I am Chief Counsel for the Center for Auto Safety (“the Center”), one of the

Plaintiffs in this case, and have worked at the Center as its lead staff attorney for more than

seventeen years. The Center is a non-profit membership organization founded in 1970 by

Consumers Union and Ralph Nader to advocate for auto safety and economic fairness on behalf

of consumers, and to help consumers with defective cars obtain redress for their economic and

other damages. It is the nation’s leading consumer advocacy group dedicated to these issues, and

a recognized expert in the field of new and used cars; for decades it has been so recognized by

Congress, the media, and courts.

       2.      The Center petitioned the Federal Trade Commission (“FTC”) to take action to

prevent CarMax from advertising and marketing used vehicles as having “passed a rigorous

125+ point inspection” and qualifying to be sold as “CarMax Quality Certified” when those

vehicles are subject to pending safety recalls, and the Center also commented on the proposed

decisions that led to the final Decisions and Orders at issue in this case. The Center was also
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heavily involved in testifying about and presenting evidence in support of the Used Car Trade

Regulation Rule which provides that it is a “deceptive act or practice” for auto dealers to

“misrepresent the mechanical condition of a used vehicle.” 16 C.F.R. § 455.1(a)(1).

       3.      The Center brings this case on behalf of its thousands of members who with their

families as a result of the FTC’s Decisions and Orders at issue are exposed to the increased risk

of economic and personal injury and even death, as well as property damage, because the FTC’s

Decisions and Orders allow dealers who sell “certified” used cars to continue to advertise and

sell those cars as “safe,” “repaired for safety,” and “subject to rigorous inspection” when such

vehicles are not safe because they contain defects and other problems that are the subject of

pending safety recalls.

       4.      As a result of the FTC’s Decisions and Orders, Center members and their families

will unwittingly purchase used cars believing them to be safe when in fact they are not safe

because they are subject to pending safety recalls. Those individual members and their families

are at increased risk of suffering injury, death, property damage, and increased financial burdens,

when they unknowingly purchase used vehicles with safety defects that have not been repaired

and those defects result in crashes, fires, or other harmful events. They will also suffer economic

and other injuries as a result because they will have to endure the costs associated with having

those vehicles repaired, which can also include having to take time off from work and the loss of

transportation for work and personal use, requiring consumers to pay for alternative means of

transportation until their vehicles are repaired. These injuries are present, continuing, and

imminent, as Center members and their families buy used cars on a regular basis.

       5.      Center members and their families are also at increased risk of injury, death, and

property damage, and attendant financial burdens by being exposed to crashes, fires, or other


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harmful events caused by other defective used cars that, but for the Decisions and Orders at issue

in this case, would not be on the roads and highways, and as passengers in unrepaired vehicles.

Car dealers who previously would not sell such vehicles without repairing them prior to sale are

now choosing instead to conform their marketing and sales practices to those sanctioned by the

FTC in the Decisions and Orders at issue in this case, and hence are now advertising and selling

“certified” used cars as “safe,” “repaired for safety,” and “subject to rigorous inspection” when

such vehicles are not safe because they are subject to safety recalls, and without repairing them

prior to sale.

        6.       The Center’s members are also adversely impacted by the FTC’s Decisions and

Orders which put the onus on consumers to ascertain whether a particular used car is subject to

an unrepaired recall, rather than that obligation being imposed on the dealer. Indeed, the FTC’s

Used Car Trade Regulation Rule specifically prohibits dealers from misrepresenting “the

mechanical condition” of any used car offered for sale. 16 C.F.R. § 455.1(a)(1). Therefore, prior

to the issuance of the challenged Decisions and Order the onus was on the dealer to ascertain and

disclose whether a particular car was subject to an open safety recall. Dealers could not represent

that a car was “safe” if in fact it was not safe because it contained a defect or other mechanical

problem that was subject to a recall and hence rendered the car unsafe to drive. By allowing

dealers to advertise and offer for sale a “safe” used car that is in fact not safe, as long as the

dealer discloses to the consumer that the car “may” be subject to a recall, the agency has shifted

the burden to ascertain such information to the consumer, including the Center’s members and

their families. The Decisions and Orders also shift the economic burden to consumers to get the

car fixed, whereas, pursuant to the Used Car Rule the dealer would not be allowed to advertise

and market a car as “safe” when in fact it was not in safe mechanical condition.


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       7.      In response to the FTC’s Decisions and Orders, more dealers are now selling

unsafe, defective used vehicles subject to recalls, because dealers who instead repair all such

vehicles prior to sale will incur additional costs that are not being borne by their competitors as a

result of the challenged FTC actions. Dealers either have to pay those costs or pass them on to

their customers, which places those dealers at a distinct economic disadvantage vis-à-vis their

competitors who will be able to sell their used vehicles for less, and will be able to sell more

vehicles, more rapidly, without waiting for repairs required to make them safe.

       8.      For example, in September 2015, AutoNation Inc., the nation’s largest new car

dealership chain, which owns over 290 dealerships in 15 states selling “certified” used vehicles,

including 16 stores in California, announced that it had adopted a policy of not selling any used

vehicle that was subject to a safety recall until the repairs were made. However, in November

2016, AutoNation reversed its position. As reported by the New York Times: “[b]y last year,

[AutoNation’s practice] was costing the company dearly, to the tune of 6 cents per share of its

earnings in the third quarter. In November, it gave up and began selling some cars with open

recalls (and full disclosures). The lack of Takata airbag replacements, the F.T.C.’s decision and

other anticipated regulatory rollbacks proved to be too much. ‘We are proud of the efforts we

made, but sometimes the system beats you down,’ Marc Cannon, the company’s chief marketing

officer, said.” See New York Times (Jan. 27, 2017) (Plaintiffs’ Exhibit O).

       As the New York Times also reported, before the FTC’s Decisions and Orders concerning

General Motors, Lithia Motors, and Koons Management were finalized, “every major car

company had said that they forbade their dealers from selling certified used vehicles with any

open recalls, including ones for Takata airbags. But afterward, Ford broke ranks, issuing an

update to dealers on its “enhanced” recall process and giving them permission to certify used


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vehicles that had open recalls after all.” Id. Ford has 3,238 dealerships in the United States, and

is one of the largest retailer of vehicles in California. See

http://corporate.ford.com/microsites/sustainability-report-2015-16/people-dealers.html.

        In addition, based on a recent survey of nearly 1,700 vehicles CarMax offered for sale in

Massachusetts, Connecticut, and California, since 2015, CarMax has more than doubled its sales

of unrepaired recalled vehicles, including vehicles where the manufacturer indicates that no

remedy is yet available. One vehicle CarMax offered for sale had six unrepaired safety defects

subject to recall. See Pl. Ex. X.

        9.      The National Automobile Dealers Association (“NADA”), which represents over

16,000 franchised dealers in all 50 states who sell used cars and trucks, informed the FTC with

respect to the agency’s proposals to allow used car dealers to sell “certified” used cars as “safe,”

“repaired for safety,” and “subject to rigorous inspection,” that once the proposals became final

“NADA will disseminate compliance guidance to its members concerning these requirements

and encourage their adoption.” Id. (emphasis added). NADA Comments (Feb. 29, 2016.

(Plaintiffs’ Exhibit I).

        10.     As a result of used car dealers conforming their conduct to what is permitted by

the Decisions and Orders at issue in this case, Center members and their families will be exposed

to an increased risk of injury, death, and property damage caused by more unsafe used vehicles

with unrepaired safety defects being on the nation’s roads and highways each day. These

injuries are present, imminent, and continuing, as tens of millions of used cars subject to safety

recalls are sold each year in this country.

        11.     These risks are by no means speculative. Auto safety recalls typically involve

defects that often claim lives and cause serious and debilitating, permanent, extremely costly


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injuries. Vehicle crashes are the leading cause of fatalities and major injuries among infants over

age 1, children, teenagers, and young adults. Based on data currently available from the National

Highway Traffic Safety Administration (“NHTSA”), there are currently tens of millions of cars

subject to safety recalls that have not yet been repaired. As the attached data demonstrate,

according to the manufacturers’ own quarterly reports, there are 37 million recall repairs that still

have not been made on recalls covering over 250,000 vehicles issued during the three year period

from 2013-2015. See Attachment (Chart Based on Manufacturers’ Quarterly Reports to NHTSA

from 2013 -2015). This does not include any pre-2013 recalls, recalls for the years 2016 or

2017, nor does it include recalls covering a smaller number of vehicles, of which there are many.

If recalls from additional years were included, as well as the many other recalls that are not

included in this sample, a conservative estimate of unrepaired safety recalls on vehicles currently

on the road or sitting on used car lots waiting to be sold would be close to 80 million. This

estimate includes recalls for the defective Takata airbag, which can deploy explosively causing

serious injury or death to the occupants of the vehicle, and which NHTSA has called “the largest

and most complex safety recall in U.S. history.” Approximately 70 million defective Takata

airbag inflators have been installed in more than 42 million vehicles manufactured by 19

different companies (including Acura, Audi, BMW, Chrysler (including Dodge and Jeep),

Ferrari, Ford/Lincoln, General Motors (including Pontiac and Saab), Honda, Infiniti,

Jaguar/Land Rover, Lexus, Mazda, Mercedes-Benz, Mitsubishi, Nissan, Subaru, Tesla,

Toyota/Scion, and Volkswagen). However, according to NHTSA’s most recent data, only 18

million of the approximately 70 million defective airbag inflators under recall or scheduled to be

recalled have been repaired. See, e.g., https://www.nhtsa.gov/recall-spotlight/takata-air-

bags#takata-air-bags-completion-rates. Furthermore, due to parts shortages for replacement



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airbag inflators, consumers buying a used car containing the defective inflators will be unable to

receive a recall repair for months, if not years, after the purchase.

        12.     While some of our members may know enough not to purchase “certified” used

cars without making sure any outstanding safety recalls have been fixed, the Center cannot

insure that all of its members and their family members are so informed or will always heed such

information. Nor can the Center insure that the larger used car buying public knows to avoid

buying a “certified” used car that is subject to a pending safety recall. Accordingly, the Center’s

members and their families cannot avoid being exposed to the increased risks of those vehicles

being on the road as result of the FTC’s actions in authorizing such practices.

        13.     All of these injuries are directly caused by the FTC’s Decisions and Orders at

issue in this case which instruct the entire used car dealer industry that the FTC does not consider

it a “deceptive act or practice” for dealers to sell used cars subject to safety recalls as “certified,”

“safe,” “repaired for safety,” and “subject to rigorous inspection,” as long as the dealers disclose

to consumers that such vehicles “may” be subject to a safety recall.

        14.     As demonstrated above, and based on my knowledge of this industry, used car

dealers who previously would not sell a “certified” used car as “safe,” “repaired for safety,” or

“subject to a rigorous inspection,” that was subject to a pending safety recall are now doing so to

avoid being placed at a competitive disadvantage vis-à-vis the other used car dealers who have

been given permission by the FTC to engage in such practices.

        15.     The injuries described herein will be at least partially redressed if Plaintiffs

prevail in this case because the FTC’s Decisions and Orders will be set aside and fewer used car

dealers will continue to sell unsafe vehicles. Rather, used car dealers will be required to comply

with the Used Car Rule which prohibits them from misrepresenting the mechanical condition of


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                ATTACHMENT TO BROOKS DECLARATION
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